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                                           IN THE UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF MARYLAND
  United States
       Plaintiff,

       v.                                                           Case No. 21-cr-00331
 Jonathan Cartu et al
       Defendant.

                                  REQUEST FOR ENTRY OF APPEARANCE
                             ON BEHALF OF A FEDERAL GOVERNMENT AGENCY


             Please enter my appearance in this case on behalf of the United States
             I have been admitted to practice law in the following jurisdictions (states or the District
of Columbia):


                                   State Court                            Date of Admission
 Virginia                                                          10/2015




             I am an active member in good standing of the bars of each of the jurisdictions listed
above.


             I understand that this entry of appearance is for this case only and does not constitute
formal admission to the bar of this Court.


             I understand that I must register to use the electronic filing system and will be issued a
login and password for use in this case only.




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             I understand that I must immediately notify this Court of any change in my address,
phone number, and email address and that if I fail to do so, my appearance in this case will be
tefininated.

 3/27/2024
Date                                                  Signature
                                                      David Hamstra, 89225
                                                      Printed name and bar number

                                                      1400 New York Avenue, NW, Washington, D.C. 20005


                                                      Address
                                                      david.hamstra@usdoj.gov
                                                      Email address
                                                      (202) 993-4833
                                                      Telephone number


                                                      Fax number


If you are not a member of this Court's bar, email your completed form to
MDD_AttyAdmissions@mdd.uscourts.gov. Otherwise, please enter your own appearance in this
case in CM/ECF using the event Notice of Appearance.




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